
PER CURIAM.
Upon review of Appellants’ response to this Court’s show cause order entered March 16, 2011, the Court DENIES the Joint Motion for Remand and hereby DISMISSES this appeal for lack of jurisdiction. See Fla. R.App. P. 9.180(b)(1)(C). See also, e.g., Landry v. AMS Staff Leasing, 993 So.2d 1071 (Fla. 1st DCA 2008); Sun Sentinel &amp; Tribune Co. v. Petrovich, 744 So.2d 1056 (Fla. 1st DCA 1999); Cadco Builders, Inc. v. Roberts, 712 So.2d 457 (Fla. 1st DCA 1998).
DAVIS, VAN NORTWICK, and CLARK, JJ., concur.
